IN RE:

CaS€ZOB-llSQG-JSD

ELEANOR JONES HAMILTON
1067 EARLE ST

THOMSON, GA 303

FINAL REPORT AND AC
DISMISSED BEFORE CONFIRMATION
PLAN FILED DATE: Jun 7, 2005
ATTORNEY JOHN P WILLS

Your Trustee hereby Certifies
receipts and disbursements ha

and incorporated by reference
RECEIPTS: AmOunt paid to the

CREDITOR
NAME

SPECIALITY MERCHANDIST CORP
SOUTHERN GENERAL INSURANCE
TITLEMAX OF AUGUSTA
MIDNIGHT VELVET

MONROE & MAIN

DIRECT CHARGE

JEFFERSON CAPITAL SYSTEMS
CLERK OF U S BANKRUPTCY COUR
CLERK U S BANKRUPTCY COURT
JOHN P WILLS

CHAPTER 13 TRUSTEE FEE

SECURED PRIORITY
DEBT 518.32 .00
PAID .00 .00

 

DOC#222 Filed:ll/OS/OB Entered:ll/lO/0517211238

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

CASE NO.
0511896
24-0000
COUNT SS #1: XXX-XX-9579

SS #2: XXX-XX-OOOO

PLAN CONFIRMED:

that
s been maintained;

this case has been fully administered.

copies are attached to

in this report.

Trustee by or for the Debtor for benefit of Creditors.

CLM CLASS CLAIM DEBT TOTAL
# AMOUNT ALLOWHD PAID
001 UNS 399.50 399.50 .00
002 UNS 5085.63 5085.63 .OO
003 SEC 518.32 518.32 .00
004 UNS 820.53 820.53 .00
005 UNS 210.95 210.95 .00
006 UNS 490.06 490,06 .00
007 UNS 1004.77 1004.77 .00
991 FFE 154.00 154.00 65.00
994 ADM .00 .00 .00
999 ATY 300.00 300.00 .OO
TRU 569.28 .00

UNSECURED ADMIN ATTY OTHER

8011.44 154.00 300.00 .OO

.00 65.00 .00 .00

CASE CONCLUDED: OCt 13.

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Page:l of 1

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2005

 

that a detailed record of all

filed with the Clsrk

65.00

EALANCE
DUE

399.50
5085.63
518.32
820.53
210.95
490.06
1004,77
39.00
_OO
300.00
569.28

TOTAL PAID
65.00

WHEREFORE, your Petitioner prays that a Final Decree be entered discharging your petitioner as Trustee and

releasing Trustee‘s Surety from all liability on account of the proceedings; closing the estate, and for such other

relief as is just.

* Paid by Insurance

JOHN P WILLS
ATTORNEY AT LAW
P O BOX 1620
THOMSON GA

 

 

 

 

Barnee C. Baxter,

305240000

Trustee

 

